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                          UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF OHIO
                                    at DAYTON

 RYAN SCHULTE, individually and on
 behalf of all other Ohio residents similarly
 situated,
                                                   Case No. 3:19-cv-00026
                Plaintiff,
                                                   Judge Thomas M. Rose
        v.

 LIBERTY INSURANCE CORPORATION,

                Defendant.
 ANDREW CARTER, ANTHONY TURCO,
 LAURA RALPH, and JAMES RALPH,
 individually and on behalf of all other Ohio      Case No. 3:20-cv-00002
 residents similarly situated,
                                                   Judge Thomas M. Rose
                Plaintiffs,

        v.

 SAFECO INSURANCE COMPANY OF
 INDIANA, LM INSURANCE
 CORPORATION, and LIBERTY MUTAL
 FIRE INSURANCE COMPANY,

                Defendants.

        ORDER AND FINAL JUDGMENT GRANTING FINAL APPROVAL TO
                      CLASS ACTION SETTLEMENT

       The claims of Representative Plaintiffs Ryan Schulte (the “Schulte Plaintiff”), and Andrew

Carter, Anthony Turco, Laura Ralph, and James Ralph (“Carter Plaintiffs”) (collectively,

“Representative Plaintiffs”) against Defendants Liberty Insurance Corporation (“Liberty”), Safeco

Insurance Company of Indiana (“Safeco”), LM Insurance Corporation (“LM”), and Liberty Mutual

Fire Insurance Company (“Liberty Fire”), (collectively, “Defendants”), have been settled pursuant

to the Stipulation and Settlement Agreement dated February 19, 2021 (the “Agreement”). On
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February 23, 2021, the Court granted preliminary approval of the proposed class action settlement

set forth in the Agreement (the “Settlement”) and provisionally certified the Settlement Class for

settlement purposes only.

       On May 18, 2021, the Court held a duly noticed final approval hearing to consider: (1)

whether the terms and conditions of the Agreement are fair, reasonable and adequate; (2) whether

judgment should be entered dismissing the Representative Plaintiffs’ claims on the merits and with

prejudice, including the claims of Class Members who have not requested exclusion from the

Settlement Class; and (3) whether and in what amount to award attorneys’ fees and expenses to

Class Counsel and service awards to the Representative Plaintiffs.

       THEREFORE, IT IS HEREBY ORDERED, ADJUDGED and DECREED that:

       1.      The terms and conditions in the Agreement that was attached to the motion for

preliminary approval filed with the Court are hereby incorporated as though fully set forth in this

Judgment, and unless otherwise indicated, capitalized terms in this Judgment shall have the

meanings attributed to them in the Agreement.

       2.      The Court has personal jurisdiction over Representative Plaintiffs, Defendants, and

Class Members, venue is proper, the Court has subject matter jurisdiction to approve the

Agreement, including all exhibits thereto, and the Court has jurisdiction to enter this Judgment.

Without in any way affecting the finality of this Judgment, the Court retains jurisdiction as to all

matters relating to administration, consummation, enforcement, construction, and interpretation of

the Agreement and of this Judgment. Further, the Court retains jurisdiction to protect, preserve,

and implement the Agreement, including, but not limited to, enforcement of the releases contained

in the Agreement, and to enter such further orders as may be necessary or appropriate in

administering and implementing the terms and provisions of the Agreement.



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       3.      The Settlement was negotiated at arm’s length by experienced counsel who were

fully informed of the facts and circumstances of this Action and of the strengths and weaknesses

of their respective positions. The Settlement was reached after the Parties had engaged in extensive

and multiple settlement negotiation sessions.         Counsel for the Parties were therefore well

positioned to evaluate the benefits of the Settlement, considering the risks and uncertainties of

continued litigation, the time and expense that would be necessary to prosecute the Action through

class certification, trial and any appeals that might be taken, and the likelihood of success.

       4.      The Court finds that the prerequisites for a class action under Fed. R. Civ. P. 23(a)

and 23(b) have been satisfied for settlement purposes in that: (a) the number of Class Members is

so numerous that joinder of all members is impracticable; (b) there are questions of law and fact

common to the Settlement Class; (c) the claims of Representative Plaintiffs are typical of the

claims of the Settlement Class they seek to represent; (d) Representative Plaintiffs and Class

Counsel have and will continue to fairly and adequately represent the interests of the Settlement

Class for purposes of the Settlement; (e) the questions of law and fact common to Class Members

predominate over any questions affecting any individual Class Member; (f) the Settlement Class

is reasonably ascertainable; and (g) a class action is superior to the other available methods for the

fair and efficient adjudication of the controversy. Accordingly, and pursuant to Fed. R. Civ. P. 23,

this Court hereby finally certifies the Settlement Class.

       5.      Pursuant to Fed. R. Civ. P. 23, the Court hereby finally certifies the Settlement

Class for settlement purposes only, as identified in the Settlement Agreement, defined as follows:

              a.       All policyholders within the Settlement Class, but excluding (i)
       policyholders whose claims arose under policy forms, endorsements, or riders
       expressly permitting Nonmaterial Depreciation within the text of the policy form,
       endorsement or rider (i.e., by express use of the words “depreciation” and
       “labor”); (ii) policyholders who received one or more ACV Payments for claims,
       but not replacement cost value payments, that exhausted the applicable limits of

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         insurance; (iii) policyholders whose claims were denied or abandoned without
         ACV Payment; (iv) Defendants and their officers and directors; (v) members of the
         judiciary and their staff to whom this action is assigned and their immediate
         families; and (vi) Class Counsel and their immediate families (collectively,
         “Exclusions”).

                 b.      “Settlement Class” means, except for Exclusions, all
         policyholders homeowners residential property insurance policy issued by Liberty
         Insurance Corporation, Safeco Insurance Company of Indiana, LM Insurance
         Corporation, or Liberty Mutual Fire Insurance Company, except for those
         excluded (see below), who made a structural damage claim for property located in
         the State of Ohio during the applicable Class periods, which was a Covered Loss;
         and (b) that resulted in an actual cash value payment during the class period from
         which Nonmaterial Depreciation was withheld, or that would have resulted in an
         actual cash value payment but for the withholding of Nonmaterial Depreciation
         causing the loss to drop below the applicable deductible.

                e.         Class Periods mean the following time periods:

                      i.   For Ohio policyholders of Liberty Insurance Corporation,
                           Structural Loss claims with dates of loss on or after January
                           28, 2018.

                     ii.   For Ohio Safeco, LM and Liberty Fire policyholders,
                           Structural Loss claims with dates of loss on or after
                           January 3, 2019.


         6.     Pursuant to Fed. R. Civ. P. 23(g) the Court appoints the law firms of Mehr,

Fairbanks & Peterson, PLLC, and Whetstone Legal, LLC as Class Counsel for the Settlement

Class.

         7.     The Court also designates Representative Plaintiffs Ryan Schulte, Andrew Carter,

Anthony Turco, Laura Ralph, and James Ralph, as the representatives of the Settlement Class.

         8.     The Court makes the following findings with respect to Class Notice to the

Settlement Class:

                 a.      The Court finds that the Class Notice, the establishment of an automated
         toll-free interactive voice response phone system, and the Settlement website, all as
         provided for in the Settlement Agreement and the Preliminary Approval Order, (i)
         constituted notice that was reasonably calculated, under the circumstances, to apprise Class
         Members of the Settlement, their right to object or to exclude themselves from the

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       Settlement, and their right to appear at the Final Approval Hearing; (ii) were reasonable
       and constituted due, adequate and sufficient notice to all persons entitled to be provided
       with notice; and (iii) complied fully with all legal requirements, including the requirements
       of Fed. R. Civ. P. 23, the United States Constitution, the Rules of this Court, and any other
       applicable law.

               b.     Class Counsel has filed with the Court a declaration from JND Legal
       Administration, the independent third-party Administrator for the Settlement, establishing
       that the Class Notice and Claim Form were mailed to Class Members on March 4, 2021,
       the Settlement website was established on March 4, 2021 and the telephone line available
       for Class Members to call was available beginning March 4, 2021. Adequate notice was
       given to the Settlement Class in compliance with the Settlement Agreement and the
       Preliminary Approval Order.

       9.      Persons who wished to be excluded from the Settlement Class were provided an

opportunity to request exclusion as described in the Class Notice and on the Settlement website.

The Court finds that the individual interests of the four persons who timely sought exclusion from

the Settlement Class are preserved and that no person was precluded from being excluded from

the Settlement Class if desired. Those persons who timely and properly excluded themselves from

the Settlement Class are identified in the attached Exhibit 1.

       10.     Defendants have complied with all notice obligations under the Class Action

Fairness Act, 28 U.S.C. §§ 1715, et seq., in connection with the proposed Settlement.

       11.     No objections to the Settlement were filed.

       12.     Class Members who did not timely file and serve an objection in writing to the

Settlement Agreement, to the entry of this Judgment, to Class Counsel’s application for fees, costs,

and expenses, or to the service awards to the Representative Plaintiffs, in accordance with the

procedure set forth in the Class Notice and mandated in the Preliminary Approval Order, are

deemed to have waived any such objection through any appeal, collateral attack, or otherwise.

       13.     The terms and provisions of the Agreement, including all Exhibits thereto, have

been entered into in good faith and, pursuant to Fed. R. Civ. P. 23(e), are hereby fully and finally

approved as fair, reasonable, adequate as to, and in the best interests of, Class Members. The Court

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hereby enters judgment approving and adopting the Settlement and the Agreement, fully and

finally terminating the Released Claims of Representative Plaintiffs and the Settlement Class in

this Action against Defendants, on the merits and with prejudice.

       14.     Pursuant to Fed. R. Civ. P. 23(h), the Court hereby awards Class Counsel attorneys’

fees in the total amount of 3,414,617.86 dollars ($3,414,617.86) and expenses in the total amount

of 16,641.93 dollars ($16,641.93), payable by Defendants pursuant to the terms of the Agreement.

The Court also awards service awards in the amount of 7,500 dollars ($7,500.00) each to

Representative Plaintiffs Ryan Schulte, Andrew Carter, Anthony Turco, Laura Ralph, and James

Ralph, payable by Defendants pursuant to the terms of the Agreement. Defendants shall not be

responsible for and shall not be liable with respect to the allocation among Class Counsel or any

other person who may assert a claim thereto of attorneys’ fees and expenses awarded by the Court.

       15.     The terms of the Agreement, including all Exhibits thereto, and of this Judgment,

shall be forever binding on, and shall have res judicata and preclusive effect in and on, all Released

Claims by Representative Plaintiffs and each Class Member who did not timely and properly

exclude himself or herself from the Settlement Class, as well as each of their respective heirs,

beneficiaries, administrators, successors, and assigns, and all other Releasing Persons.

       16.     The Releases set forth in Section 9 of the Settlement Agreement are incorporated

herein in all respects and are effective as of the entry of this Judgment. The Released Persons are

forever released, relinquished, and discharged by the Releasing Persons, including all Class

Members who did not timely exclude themselves from the Settlement Class, from all Released

Claims (as that term is defined below and in the Settlement Agreement).




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       a. Although the definitions in the Agreement are incorporated in and a part of this

Judgment, for avoidance of doubt and ease of reference, some of those definitions are repeated

as follows:

          i.   “ACV Payment” means an actual cash value payment made on an insurance
               claim for a Structural Loss, calculated by estimating the replacement cost value
               of covered damage, and subtracting estimated depreciation, including
               Nonmaterial Depreciation, and any applicable deductible.

         ii.   “Affiliate” of any entity means any person or entity which controls, is controlled
               by, or is under common control with such entity directly or indirectly. The term
               “control” means the possession, directly or indirectly, of the power to direct or
               cause the direction of the management and policies of an entity, whether
               through the ownership of voting securities, by contract or otherwise, and the
               terms “controlled” and “controlling” have meanings correlative thereto.

        iii.   “Covered Loss” means a first party insurance claim for Structural Loss, as
               defined below, that (A) occurred during the Class Periods, (B) the Insurance
               Companies or a court of competent jurisdiction determined to be covered under
               a Ohio insurance policy issued by the companies under (a) and (b) above and
               resulted in an ACV Payment by the Insurance Companies, or would have
               resulted in an ACV Payment but for the deduction of Nonmaterial Depreciation.

        iv.    “Depreciation” means an estimated amount subtracted from replacement cost
               value to calculate actual cash value in making an ACV Payment, reflecting the
               age, condition, wear and tear and/or obsolescence of item(s) of damaged
               property.

         v.    “Effective Date” means the first date on which all of the following conditions
               have occurred: (A) all Parties have executed this Agreement; (B) no party has
               terminated the Agreement; (C) the Court has entered the Preliminary Approval
               Order; (D) the Court has entered a Final Judgment approving the Agreement
               and the Proposed Settlement, releasing all of the Released Persons from all of
               the Released Claims, and dismissing the Action with prejudice and without
               leave to amend; and (E) the Final Judgment has become Final.

        vi.    “Final” means, with respect to a judgment or order that: (A) the time has expired
               to file an appeal, motion for reargument, motion to alter or amend judgment,
               motion for rehearing, petition for a writ of certiorari or other motion or writ
               (“Review Proceeding”) with no such Review Proceeding having been filed; or
               (B) if a Review Proceeding has been filed, (I) the judicial ruling or order has
               been affirmed without modification and with no further right of review, or (II)
               such Review Proceeding has been denied or dismissed with no further right of
               review, in all cases so as to permit the implementation of the Proposed
               Settlement in accordance with and without material change to this Agreement.

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        vii.   “Nonmaterial depreciation” means Depreciation of labor costs, overhead and
               profit, or other non-labor items, and not of materials or sales tax, which is
               subtracted from replacement cost value in determining an ACV Payment.
               Nonmaterial Depreciation includes application of “depreciate removal”,
               “depreciate nonmaterial”, and “depreciate O&P” settings within Xactimate
               estimating software.

       viii.   “Released Persons” means, individually and collectively, (A) Liberty, Safeco,
               LM, and Liberty Fire, and all independent adjusting companies acting for those
               entities; and (B) all of the past and present Affiliates, successors and
               predecessors in interest, assigns, acquirers, divisions, representatives, heirs,
               officers, directors, shareholders, agents, managing agents, employees,
               attorneys, auditors, accountants, brokers, surplus lines brokers, underwriters,
               advisers, insurers, co-insurers, re-insurers, consultants, vendors, independent
               contractors, and legal representatives of the Persons listed in subsection (A).

         ix.   “Releasing Persons” means Representative Plaintiffs, all Class Members who
               do not properly and timely opt out of the Settlement Class, and their respective
               spouses, family members, executors, representatives, administrators, guardians,
               wards, heirs, attorneys-in-fact, estates, bankruptcy estates, bankruptcy trustees,
               successors, predecessors, attorneys, agents and assigns, and all those who claim
               through them or who assert claims (or could assert claims) on their behalf.

         x.    “Structural Loss” means physical damage to a home, building, manufactured
               home, condo, farm/ranch, rental dwelling, or other structure in the State of Ohio
               while covered by a homeowners residential, manufactured home, condo,
               dwelling or rental property insurance policy issued by the companies under (a)
               and (b) above.

       b. Representative Plaintiffs and each Class Member, shall, by operation of the Final

Judgment, be deemed to have fully, conclusively, irrevocably, forever, and finally released,

relinquished, and discharged Defendants and all other Released Persons from any and all

claims, Unknown Claims, actions, causes of action, suits, debts, sums of money, payments,

obligations, reckonings, promises, damages, interest, penalties, attorney’s fees and costs, liens,

judgments, and demands of any kind whatsoever that each Releasing Person has or may have

had prior to the Effective Date and arising from a loss during the Class Periods, whether ex

contractu or ex delicto, debts, liens, contracts, liabilities, agreements, attorneys’ fees, costs,

penalties, interest, expenses, or losses (including actual, consequential, statutory, extra-


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contractual and punitive or exemplary damages), and whether arising under or based on

contract, extra-contractual or tort theories, at law or in equity, or federal, state or local law,

statute, ordinance, rule or regulation, whether asserted individually or in a representative

capacity, whether past or present, mature or not yet mature, that any of the Representative

Plaintiffs or Class Members have or may have had against any of the Released Persons that

relate to, concern, arise from, or pertain in any way to:

          i.   Nonmaterial Depreciation (including, but not limited to, calculation, deduction,
               determination, inclusion, modification, omission, and/or withholding of
               Nonmaterial Depreciation) in the adjustment and/or payment of any Covered
               Loss;

         ii.   any and all claims that were or could have been brought pertaining to the
               calculation, deduction, determination, inclusion, modification, omission, and/or
               withholding of Nonmaterial Depreciation in the adjustment and/or payment of
               any Covered Loss;

        iii.   the allegations and claims contained in any complaint or amended complaint in
               the Action concerning the alleged systematic practice of deducting Nonmaterial
               Depreciation through the use of estimating software;


(“Released Claims”). Released Claims do not include claims under any coverages other than

for loss or damage to structures or buildings. Further, Released Claims do not apply to Class

Members’ claims for replacement cost benefits under Structural Loss insurance claims that are

made after the date of Preliminary Approval and determined pursuant to the terms and

conditions of policies of insurance. Except for the Schulte and Carter Plaintiffs, this Release

does not apply to any insurance claims unrelated to Nonmaterial Depreciation shall not extend

to other individual claims against any of the Defendants that are unrelated to Nonmaterial

Depreciation and not a part of the Released Claims.

       c. In agreeing to the foregoing Releases, Representative Plaintiffs, for themselves and

on behalf of Class Members, explicitly acknowledge that Unknown Claims could possibly

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 exist and that any present losses may have been underestimated in amount or severity.

 Representative Plaintiffs or any Class Member may hereafter discover facts other than or

 different from those that he/she knows or believes to be true with respect to the subject matter

 of the Released Claims or the law applicable to such claims may change. Nonetheless,

 Representative Plaintiffs and each Class Member expressly agree that he/she/they shall have

 irrevocably waived and fully, finally and forever settled and released any known or unknown,

 suspected or unsuspected, asserted or unasserted, liquidated or unliquidated, contingent or non-

 contingent, claims with respect to all Released Claims. Further, Representative Plaintiffs and

 Class Members agree and acknowledge that they are bound by the Settlement Agreement,

 including by the Releases, and that all of their claims in Action asserted against Defendants

 shall be dismissed with prejudice and released, without regard to subsequent discovery of

 different or additional facts or subsequent changes in the law, and regardless of whether

 unknown losses or claims exist or whether present losses may have been underestimated in

 amount or severity, and even if they never received actual notice of the Settlement or never

 received a Claim Settlement Payment. The Parties acknowledge that the foregoing Releases

 were bargained for and are a material element of the Settlement Agreement.

        d. This Judgment does not release and determine: (i) claims arising after the Effective

 Date; (ii) claims for valuation or payment of a Covered Loss under any property insurance

 policies issued by Defendants not related to the withholding of payment for Nonmaterial

 Depreciation; and (iii) Class Members’ rights and obligations under the Agreement.

        e. Representative Plaintiffs and Class Counsel have represented and warranted that

 there are no outstanding liens or claims against the Action and have acknowledged that




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    Representative Plaintiffs and Class Counsel will be solely responsible for satisfying any liens

    or claims asserted against the Action.

              f. Representative Plaintiffs and each Class Member is deemed to agree and

    acknowledge that the foregoing Releases were bargained for and are a material element of the

    Agreement.

              g. The Releases do not affect the rights of persons in the Settlement Class who timely

    and properly submitted a request for exclusion.

              h. The Agreement shall be the exclusive remedy for all Class Members with regards

    to the Released Claims.

        17.      Neither the Agreement, the negotiations or proceedings connected with it, nor any

of the documents or statements referred to therein, nor this Judgment, nor any of its terms and

provisions, nor any pleadings, motions, or other document related in any way to the Agreement

shall be:

              a. Construed as an admission or concession by Defendants of the truth of any of the

     allegations in the Action, or of any liability, fault, or wrongdoing of any kind by Defendants

     or any Released Persons;

              b. Offered or admitted into evidence in the Action or in any other proceeding in

     support of or in opposition to a motion to certify a contested class against Defendants or any

     Released Persons;

              c. Offered or admitted into evidence in the Action or in any other proceeding as an

     admission or concession of liability or wrongdoing by Defendants or Released Persons;

              d. Offered or received in evidence in any action or proceeding against any Defendants

     or the Released Persons in any court, administrative agency, or other tribunal for any purpose



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    whatsoever, other than to enforce or otherwise effectuate the Settlement Agreement (or any

    agreement or order relating thereto), including the Releases or this Judgment.

       18.     If the Effective Date does not occur, this Judgment shall automatically be rendered

null and void and shall be vacated and, in such event, all orders entered and releases delivered in

connection herewith shall be null and void.

       19.     This Judgment and the Agreement (including the Exhibits thereto) may be filed in

any action against or by any Released Person in order to support any argument, defense or

counterclaim, including, without limitation, those based on principles of res judicata, collateral

estoppel, release, good faith settlement, judgment bar or reduction, or any other theory of claim

preclusion, issue preclusion, or similar defense or counterclaim.

       20.     Representative Plaintiffs and all Class Members and their respective spouses,

family members, executors, representatives, administrators, guardians, wards, heirs, attorneys-in-

fact, estates, bankruptcy estates, bankruptcy trustees, successors, predecessors, attorneys, agents

and assigns, have released the Released Claims as against the Released Persons, and are, from

this day forward, hereby permanently barred and enjoined from filing, commencing, prosecuting,

intervening in, maintaining, or participating in (as parties, class members or otherwise), any new

or existing action or proceeding before any court or tribunal regarding any Released Claims against

any Released Persons, and from organizing any Class Members into a separate class for purposes

of pursuing as a purported class action any lawsuit regarding any Released Claims against any

Released Persons, and any person in violation of this injunction may be subject to sanctions,

including payment of reasonable attorneys’ fees incurred in seeking enforcement of the injunction.




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       21.     Within 10 days after the Effective Date, Representative Plaintiffs and Class

Members shall dismiss with prejudice all Released Claims asserted in any actions or proceedings

that have been brought by or involve any Class Member in any jurisdiction.

       22.     The Released Claims of Representative Plaintiffs Ryan Schulte, Andrew Carter,

Anthony Turco, Laura Ralph, and James Ralph, individually and on behalf of the Settlement Class,

are hereby settled, compromised, and dismissed on the merits and with prejudice against

Defendants without fees (including attorneys’ fees) or costs to any party except as otherwise

provided in this Judgment.

       23.     The Parties are hereby directed to implement and consummate the Settlement

according to its terms and provisions, as may be modified by Orders of this Court. Without further

order of the Court, the Parties may agree to reasonable extensions of time to carry out any of the

provisions of the Agreement, as may be modified by the Preliminary Approval Order or this

Judgment.

       24.     Pursuant to Rule 54(b), the Court hereby enters Final Judgment as described herein

and expressly determines that there is no just reason for delay. Without impacting the finality of

this Judgment, the Court shall retain jurisdiction over the construction, interpretation,

consummation, implementation, and enforcement of the Agreement and this Judgment, including

jurisdiction to enter such further orders as may be necessary or appropriate.

   DONE and ORDERED in Dayton, Ohio, this 20th day of May, 2021.



                                                     s/Thomas M. Rose

                                                     THOMAS M. ROSE
                                                     UNITED STATES DISTRICT JUDGE




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